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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


  Magseis FF LLC and                        )
  Fairfield Industries Incorporated d/b/a   )
  Fairfield Geotechnologies                 )
                                            )
                  Plaintiffs,               )
                                            )
         vs.                                )         Case No. 4:17-cv-01458
                                            )
  Seabed Geosolutions (US) Inc. and         )         JURY TRIAL DEMANDED
  Seabed Geosolutions B.V.,                 )
                                            )
                 Defendants.                )
                                            )

                                            ORDER

       Before the Court is Plaintiff Magseis FF LLC’s Motion for Leave to File Third Amended

and Supplemental Complaint Joining New Fugro and PXGEO Defendants and to Temporarily

Lift Stay to Do So. Being fully advised, it is now ORDERED that Plaintiff’s Motion is hereby

GRANTED.

       It is so ORDERED.




__________________________                      _____________________________________
Date                                            The Honorable Alfred H. Bennett
                                                United States District Judge
